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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

SHARON K. RANKIN,                   )
                                    )
                Plaintiff,          )               7:08CV5005
                                    )
          v.                        )
                                    )
W. K. STETSON, M.D., A              )         MEMORANDUM AND ORDER
licensed Physician, C. A.           )
SUTERA, M.D. A licensed             )
Physician, CHADRON MEDICAL          )
CLINIC, P.C., A Nebraska            )
Professional Corporation; and       )
DOES I-X, inclusive,                )
                                    )
                Defendants.         )
                                    )



     Upon consideration of the defendants’ motion to remand and
the plaintiff’s concession of the motion,


     IT THEREFORE HEREBY IS ORDERED,

     The motion, filing 5, is granted, and this matter is
remanded to the District Court of Dawes County, Nebraska. The
clerk shall forthwith provide copies of all documents in this
file to the clerk of that court.

     DATED this 11th day of August, 2008.

                                  BY THE COURT:


                                  s/    David L. Piester
                                  David L. Piester
                                  United States Magistrate Judge
